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                         EXHIBIT G
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 9:19-cv-81160-RS




    APPLE INC.,


                              Plaintiff,


           v.


    CORELLIUM, LLC,


                            Defendant.



                 DECLARATION OF DONALD MATTHEW FIRLIK
   IN SUPPORT OF PLAINTIFF APPLE INC.’S RESPONSE TO DEFENDANT’S MOTION
    TO COMPEL INFORMATION REGARDING COMPETITIVE TECHNOLOGY OR, IN
             THE ALTERNATIVE, TO EXCLUDE SUCH INFORMATION

          1.    My name is Donald Matthew Firlik. I am over the age of 18. I have personal

       knowledge of the facts contained herein, which are true and correct. If called as a witness,

       I could competently testify to these statements.

          2.    I am the Director of Development Technologies at Apple Inc. (“Apple”).

          3.    As part of the responsibilities of my job, my team and I perform internal testing of

       Apple’s hardware devices and operating systems. This includes testing of iPhones and iOS.




                                      CONTAINS CONFIDENTIAL –
                                  ATTORNEYS’ EYES ONLY INFORMATION
                                                  1
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                                CONTAINS CONFIDENTIAL –
                            ATTORNEYS’ EYES ONLY INFORMATION
                                           2
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         I declare under penalty of perjury that the foregoing is true and correct.



   Executed on April 23, 2020
   in ____________________,
            Cupertino         CA                       Donald Matthew Firlik




                                       CONTAINS CONFIDENTIAL –
                                   ATTORNEYS’ EYES ONLY INFORMATION
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